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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

SERGIO SOKOLIANSKI,                        )
                                           )
      Plaintiff,                           )
                                           ) CIVIL ACTION
v.                                         )
                                           ) FILE NO. __________________
NEW PENN FINANCIAL, LLC d/b/a              )
SHELLPOINT MORTGAGE                        )
SERVICING,                                 )
                                           )
      Defendant.                           )

                                   COMPLAINT

      COMES NOW, SERGIO SOKOLIANSKI, Plaintiff in the above-styled civil

litigation, and files this, her Complaint pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692a et seq. (“FDCPA”) against Defendant NEW

PENN FINANCIAL, LLC d/b/a SHELLPOINT MORTGAGE SERVICING. In

support thereof, Plaintiff respectfully shows this honorable Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has jurisdiction over the instant action pursuant to 15

U.S.C. § 1692k(d) and 47 U.S.C. § 227(b)(3).

      2.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), as

the acts and transactions giving rise to Plaintiff’s action occurred in this district,
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Plaintiff resides in this state and this district, and Defendant transacts business in

this district.

                                         PARTIES

       3.        Plaintiff, Sergio Sokolianski (“Plaintiff”), is a natural person who at

all relevant times resided in Norcross, Georgia (Gwinnett County).

       4.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       5.        Defendant, New Penn Financial, LLC d/b/a Shellpoint Mortgage

Servicing (“Defendant”) is a Delaware limited liability company that at all relevant

times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

       6.        Defendant may be properly served with service via its registered agent

for process, to wit: Corporation Service Company, 40 Technology Parkway South

#300, Norcross, Georgia 30092.

       7.        Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                              FACTUAL ALLEGATIONS

       8.        Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due, to a creditor other than Defendant.

       9.        The obligation that Defendant has asserted to be owed by Plaintiff is

allegedly due a creditor other than Defendant, and arises from a transaction in


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which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes, to

wit: a mortgage debt allegedly owed to either Goldman Sachs or MTGLQ

Investors, L.P. (the “Debt”).

      10.    Defendant uses instrumentalities of interstate commerce or the mails

for the purpose of collecting debts, and/or regularly collect or attempt to collect,

directly or indirectly, debts owed or due, or asserted to be owed or due to another.

      11.    In connection with the collection of the Debt, Defendant sent to

Plaintiff, or caused to be sent to Plaintiff, written communication dated July 29,

2015. (See July 29, 2015 “Validation of Debt Notice,” attached as Exhibit A).

      12.    In said July 29, 2015 letter, Defendant asserted that the Debt was

owed to “Goldman Sachs.”

      13.    In response to Defendant’s letter, Plaintiff sent written communication

to Defendant dated August 8, 2015, and therein, notified Defendant that the Debt

had been discharged in bankruptcy on May 5, 2009. (See August 8, 2015 Letter to

Defendant with Certified Mail Receipt, attached as Exhibit B).

      14.    In his August 8, 2015 letter, Plaintiff further demanded that Defendant

“not attempt to collect this debt any further.” (See Exhibit B).

      15.    Despite Plaintiff’s demand that Defendant cease and desist from


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collecting the Debt, Defendant sent a second “Validation of Debt Notice” to

Plaintiff dated November 17, 2015. (See November 17, 2015 “Validation of Debt

Notice, attached as Exhibit C).

      16.    In its November 17, 2015 letter, Defendant represented that the Debt

was owed to MTGLQ Investors, L.P.

      17.    Thereafter, Plaintiff retained the undersigned counsel, and counsel

sent a notice of representation to Defendant on December 31, 2015, and received

by Defendant on January 4, 2016. (See December 31, 2015 Initial Notice and

Demand, with Certified Mail Confirmation, attached as Exhibit D).

      18.    Despite having actual knowledge that Plaintiff was represented by

counsel, and despite said counsel’s demand that Defendant cease and desist from

communicating directly with Plaintiff, on January 6, 2016, Defendant sent written

communication directly to Plaintiff, purportedly providing Plaintiff with the name

and address of “the owner of [his] loan.” (See January 6, 2016 Letter to Plaintiff,

attached as Exhibit E).

      19.    At no time prior to its January 6, 2016 letter to Plaintiff did Defendant

make an attempt to communicate with Plaintiff’s counsel.

      20.    At no time prior to its January 6, 2016 letter to Plaintiff did Plaintiff’s

counsel fail to respond to communication from Defendant within a reasonable


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amount of time.

                                  COUNT I
                       VIOLATION OF 15 U.S.C. § 1692c(a)(1)

       21.      Plaintiff incorporates herein by reference each allegation above as if

restated in their entirety.

       22.      Defendant violated 15 U.S.C. § 1692c(a)(1) by communicating with

directly with Plaintiff in connection with the collection of the Debt, despite actual

knowledge that Plaintiff was represented by an attorney.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692c(a)(1);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.

                §1692k(a)(2)(A) in the amount of $1,000.00;

             c) Awarding      Plaintiff   actual   damages,   pursuant   to   15   U.S.C.

                §1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.

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                                 COUNT II
                      VIOLATION OF 15 U.S.C. § 1692e(2)(A)

       23.      Plaintiff incorporates herein by reference each allegation above as if

restated in their entirety.

       24.      Defendant violated 15 U.S.C. § 1692e(2)(A) by misrepresenting the

character, amount, and/or legal status of the Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.

                §1692k(a)(2)(A) in the amount of $1,000.00;

             c) Awarding      Plaintiff   actual   damages,   pursuant   to   15   U.S.C.

                §1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.




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                                   COUNT III
                          VIOLATION OF 15 U.S.C. § 1692e(10)

       25.      Plaintiff incorporates herein by reference each allegation above as if

restated in their entirety.

       26.      Defendant violated 15 U.S.C. § 1692e(10) by using false

representations and/or deceptive means to collect the Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.

                §1692k(a)(2)(A) in the amount of $1,000.00;

             c) Awarding      Plaintiff   actual   damages,   pursuant   to   15 U.S.C.

                §1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.




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                                   COUNT IV
                          VIOLATION OF 15 U.S.C. § 1692f(1)

       27.      Plaintiff incorporates herein by reference each allegation above as if

restated in their entirety.

       28.      Defendant violated 15 U.S.C. § 1692f(1) by collecting, or attempting

to collect a debt that was not permitted by law.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692f(1);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.

                §1692k(a)(2)(A) in the amount of $1,000.00;

             c) Awarding      Plaintiff   actual   damages,   pursuant   to   15   U.S.C.

                §1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.




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                                  COUNT V
                       VIOLATION OF 15 U.S.C. § 1692g(a)(2)

       29.      Plaintiff incorporates herein by reference each allegation above as if

restated in their entirety.

       30.      Defendant violated 15 U.S.C. § 1692g(a)(2) by failing to provide

plaintiff with the name of the creditor to whom the Debt was allegedly owed.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(a)(2);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.

                §1692k(a)(2)(A) in the amount of $1,000.00;

             c) Awarding      Plaintiff   actual   damages,   pursuant   to      15   U.S.C.

                §1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff any pre-judgment and post-judgment interest as

                permissible by law;

             f) Awarding such other and further relief as the Court may deem just and

                proper.

                                     TRIAL BY JURY

       31.      Plaintiff is entitled to, and hereby demands, a trial by jury.

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                                    Dated: February 4, 2016.

                                    Respectfully submitted,

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich
                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
                                    2300 Henderson Mill Road, Suite 300
                                    Atlanta, Georgia 30345
                                    (404) 365-4460
                                    (855) 415-2480 (fax)
                                    craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing Complaint has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Time New Roman and

a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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